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 6   Attorney for Defendant
 7   JUSTIN ROBERT CRUZ WHITE

 8                                 IN THE SUPERIOR COURT OF GUAM
 9                                             HAGÅTÑA, GUAM
10
     UNITED STATES OF AMERICA            )                    CRIMINAL CASE NO. 15-00041
11                                       )
12               vs.                     )
                                         )
13   JUSTIN ROBERT WHITE CRUZ            )                    MOTION TO WITHDRAW
                                         )                    AS COUNSEL
14                           Defendant.  )
15   ____________________________________)

16           COMES NOW, the Law Office of Cynthia V. Ecube, Esq., A Professional Corporation, by
17
     Cynthia V. Ecube, Esq., and hereby moves this Court for leave to withdraw as counsel for Defendant
18
     Justin Robert White Cruz in the above-entitled criminal proceeding based on the ground that a conflict
19
20   of interest exists.

21           This Motion is brought pursuant to Rule 1.17 of the Guam Rules of Professional Conduct. Rule
22
     1.17 governing conflicts of interest provide in relevant part:
23
             “(a)    Except as provided in paragraph (b), a lawyer shall not represent a client if
24                   the representation involves a concurrent conflict of interest. A concurrent
25                   conflict of interest exists if:

26                   (1)     the representation of one client will be directly adverse to another
27                           client; or

28                   (2)     there is a significant risk that the representation of one or more
                             clients will be materially limited by the lawyer’s responsibilities to



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 1   MOTION TO WITHDRAW AS COUNSEL
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 2   Criminal Case No. 15-00041                                                                      Page 2

 3                         another client, a former client or a third person or by a personal
 4                         interest of the lawyer.”

 5          In the instant case, the undersigned submits that there is sufficient facts set forth in the
 6
     Declaration of Counsel filed contemporaneously with said Motion demonstrating that a conflict of
 7
     interest exists as provided under 1.17(a)(1) of the Guam Rules of Professional Conduct.
 8
 9          For these reasons, the undersigned requests that the Court grant counsel’s leave to withdraw and

10   appoint new counsel for the natural father pursuant to the undersigned’s Motion, and any other
11
     evidence which may be presented at the hearing in this matter.
12
            Respectfully submitted this 7th day of January, 2016.
13
14                                                LAW OFFICE OF CYNTHIA V. ECUBE, ESQ.
                                                  A Professional Corporation
15
16
                                                  /s/ Cynthia V. Ecube
17                                        By:     _____________________________________
                                                  CYNTHIA V. ECUBE, ESQ.
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